Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 1 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 2 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 3 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 4 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 5 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 6 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 7 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 8 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 9 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 10 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 11 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 12 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 13 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 14 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 15 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 16 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 17 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 18 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 19 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 20 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 21 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 22 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 23 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 24 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 25 of 26
Case 18-30938   Doc 12-2   Filed 11/30/18 Entered 11/30/18 08:12:35   Desc Exhibit
                           A B C D Page 26 of 26
